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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:07CR3148-1
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
MICHEL B. YODER,                               )
                                               )
                    Defendant.                 )

      On the court’s own motion,

       IT IS ORDERED that Defendant Yoder’s sentencing is rescheduled to 11:00 a.m. on
Friday, June 20, 2008, before the undersigned United States district judge, in Courtroom
No. 1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      May 21, 2008.                         BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
